                                 IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                          BEAUMONT DIVISION

 UNITED STATES OF AMERICA,

                                                                                    NO. 1:17-CR-00153-TH
 vs.

 ALVARO ROMERO (1), and
 SIDNEY ANTHONY WORRELL (10)



                           REPORT AND RECOMMENDATION
                      GRANTING DEFENDANT’S MOTION TO SUPPRESS

         Pending before the undersigned is a “Motion to Suppress Wiretap Evidence” filed by

Defendants Alvaro Romero and Sidney Worrell (Doc. No. 172). Because the wiretap orders do

not contain the identity of the high-level Justice Department official who approved the

applications, the orders are facially insufficient. See 18 U.S.C § 2518(4)(d). Thus, the contents

of the wire communications and evidence obtained therefrom should be suppressed pursuant to 18

U.S.C. § 2518(10)(a)(ii).

                                                      I. Background

         In 2013 and 2014, the United States Drug Enforcement Administration investigated the

Romero Drug Trafficking Organization. (Doc. No. 181 at 1.) During the investigation, the

Government filed eight applications for orders authorizing the interception of wire and electronic

communications (the “Wiretap Orders”) that are the subject of this Report and Recommendation.1

Each Wiretap Order was presented to a district judge for the Southern District of Texas

accompanied with an authorization letter signed by a Department of Justice official.



         1
            (Doc. Nos. 181-1, p. 20; 181-2, p. 20;181-3, p. 18; 181-4, p. 21; 181-5, p. 23; 181-6, p. 21; 181-7, p. 21;
181-8, p. 21.)
       In December 2017, the Grand Jury sitting in the Eastern District of Texas returned a two-

count Indictment alleging that Worrell, Romero, and their co-defendants violated 21 U.S.C. § 846

(Conspiracy to Possess with Intent to Distribute Cocaine HCL) and 18 U.S.C. § 1956(h)

(Conspiracy to Launder Monetary Instruments). (Doc. No. 1.) On August 10, 2018, Worrell filed

a Motion to Suppress Wiretap Evidence. (Doc. No. 172.) On September 6, 2018, United States

District Judge Thad Heartfield referred Worrell’s Motion to Suppress to the undersigned. (Doc.

No. 190.)

       On August 6, 2018, Romero pleaded guilty to Counts One and Two before United States

Magistrate Judge Keith Giblin. (Doc. No. 163.) Before the district court accepted his guilty plea,

Romero filed an Unopposed Motion to Adopt Worrell’s Motion to Suppress and Unopposed

Motion to Defer Acceptance of Guilty Plea. (Docs. 178 and 179, filed August 20, 2018.) On

September 7, 2018 Romero’s request to join in his co-defendant’s motion to suppress was granted

(Doc. No. 193), but his Motion to Defer Acceptance of Guilty Plea was not ruled on by the court.

       On September 11, 2018, Judge Giblin issued a Report and Recommendation that the district

court accept Romero’s guilty plea. (Doc. No.195.) On September 26, 2018, Judge Heartfield

adopted Judge Giblin’s Recommendation and adjudged Romero guilty on Counts One and Two.

(Doc. No. 196.) Romero then filed an Unopposed Motion to Vacate Judge Heartfield’s order

accepting his guilty plea which is currently pending. (Doc. No. 199, filed October 16, 2018.)

                                   II. Title III Requirements

       Title III of the Omnibus Crime Control and Safe Streets Act of 1968, Pub. L. No. 90–351,

82 Stat. 197, 211–25 (codified as amended at 18 U.S.C. §§ 2510 et seq.) (“Title III”), sets forth a

detailed procedure for the interception of wire, oral, or electronic communications. 18 U.S.C. §

2511; cf. id. §§ 2512–2513.



                                                    2
        First, the wiretap application must be authorized by one of the statutorily identified high-

level Justice Department officials, which specifically includes the Attorney General, the Deputy

Attorney General, the Associate Attorney General, any Assistant Attorney General, or any acting

Assistant Attorney General, as well as certain Deputy Assistant Attorneys General specially

designated by the Attorney General. See id. § 2516(1).

        Second, the government must submit the application, under oath or affirmation, to a judge

of competent jurisdiction and affirm the authority to make such application. Id. § 2518(1). The

application must contain certain information: (1) the identity of the officer(s) making and

authorizing the application; (2) an explanation of the facts and circumstances that the applying

officer believes justify the wiretap; (3) a statement describing the necessity of the wiretap to the

government’s investigation; (4) a statement of the period of time for which the interception is

required to be maintained; (5) a full and complete statement of the facts concerning all previous

applications known to the individual authorizing and making the application; and (6) if the

application is for the extension of an order, a statement setting forth the results obtained thus far.2

18 U.S.C. § 2518(1)(a)–(f).

        Third, before issuing the ex parte wiretap order, as requested or modified, a judge must

make certain determinations based on the facts submitted by the applicant, id. § 2518(3), including,

inter alia, that the wiretap is necessary to the investigation, id. § 2518(3)(c), and that there exists

probable cause to believe that the phone to be tapped is or will soon be used in connection with

particular enumerated criminal offenses, id. § 2518(3)(d).




        2
           “The judge may require the applicant to furnish additional testimony or documentary evidence in support
of the application.” Id. § 2518(2).

                                                            3
       Fourth, the judge issues the order approving the wiretap. The court order must contain the

following specific elements:

       (a) the identity of the person, if known, whose communications are to be
           intercepted;
       (b) the nature and location of the communications facilities as to which, or the place
           where, authority to intercept is granted;
       (c) a particular description of the type of communication sought to be intercepted,
           and a statement of the particular offense to which it relates;
       (d) the identity of the agency authorized to intercept the communications, and of
           the person authorizing the application; and
       (e) the period of time during which such interception is authorized, including a
           statement as to whether or not the interception shall automatically terminate
           when the described communication has been first obtained.

18 U.S.C. § 2518(4)(a)–(e) (hereinafter the “§ 2518(4) requirements”).

       Title III also provides the means by which a Defendant can challenge the admissibility of

wiretap evidence:

               [a]ny aggrieved person in any trial, hearing, or proceeding in or before any
               court . . . may move to suppress the contents of any wire or oral
               communication intercepted pursuant to this chapter, or evidence derived
               therefrom, on the grounds that—
                       (i) the communication was unlawfully intercepted;
                       (ii) the order of authorization or approval under which it was
                       intercepted is insufficient on its face; or
                       (iii) the interception was not made in conformity with the order of
                       authorization or approval.

18 U.S.C. § 2518(10)(a).

                                    III. Standing and Scope

       The Government first contests the Defendants’ standing to challenge the Wiretap Orders.

As to Worrell, the Government claims that he was never intercepted over any of the phones tapped

in the Wiretap Orders, and as to Romero, that he was neither a target subject nor intercepted under

four of the eight orders.




                                                     4
        A. Intercepted phone calls

        Section 2518(10)(a) permits any “aggrieved person” to move to suppress the contents of

wire or oral communications seized during electronic surveillance. 18 U.S.C. § 2518(10)(a). An

aggrieved person is defined as “a person who was a party to any intercepted wire, oral or electronic

communication or a person against whom the interception was directed.” Id. at 2518(11).

        Worrell submitted an affidavit stating that he recognizes his voice on two of the eight

telephone numbers: three phones calls from the 409-273-0566 phone number (authorized by the

April 23, 2014 order) and seven phones calls related to the 832-727-2669 phone number

(authorized by the May 14, 2014 order). (Doc. No. 194-1.) The Government has not challenged

Worrell’s affidavit. Based upon Worrell’s uncontradicted affidavit, the undersigned finds that

Worrell has standing to challenge the April 23 and May 14, 2014 orders pertaining to those

numbers only.

        The Government concedes that Romero was intercepted pursuant to orders issued on

February 14, 20143, March 21, 2014, April 23, 2014, and May 5, 2014. (Doc. No. 181, p. 2.)

Romero has not filed an affidavit nor otherwise responded to the Government’s claim that he lacks

standing to challenge the orders in which he was not intercepted. Accordingly, the undersigned

finds that Romero’s standing is limited to only the orders listed above that authorized wiretaps in

which he was actually intercepted.




        3
          The Government’s Response actually states that the February 21, 2014 order authorized an interception of
a phone used by Romero. However, there is no February 21st order. Accordingly, the undersigned presumes the
Government meant to refer to the February 14, 2014 order.


                                                            5
          B.      Suppression of text messages

          The Government also claims that the scope of § 2518 does not allow for statutory

suppression of electronic communications (i.e, text messages) derived as a result of the Wiretap

Orders.        The Government claims that § 2518 only allows suppression of wire or oral

communications, and that “[s]uppression for an order deemed facially insufficient is not available

for intercepted electronic communications such as text messages.” (Doc. No. 181, p. 20.)

          When first enacted, Title III addressed only the interception of wire and oral

communications. Title III was amended in 1986 by the Electronic Communications Privacy Act

(“ECPA”) of 1986, Pub. L. No. 99–508, 100 Stat. 1848 (1986), to expand certain protections

previously only provided to wire and oral communications to now include electronic

communications. See, e.g., 18 U.S.C. § 2511(1)(a),(c), (d) and (e) (penalizing unauthorized

interception of wire, oral and electronic communications). Electronic communications are defined

as “any transfer of signs, signals, writing, images, sounds, data, or intelligence of any nature

transmitted in whole or in part by a wire, radio, electromagnetic, photoelectronic or photooptical

system that affects interstate or foreign commerce.” 18 U.S.C. § 2510(12); see United States v.

Jones, 451 F. Supp. 2d 71, 75 (D.D.C. 2006) (holding that text messages constitute “electronic

communications”).

          Section 2518(10)(a) provides that “[i]f the [suppression] motion is granted, the contents

of the intercepted wire or oral communication, or evidence derived therefrom, shall be treated as

having been obtained in violation of this chapter.” 18 U.S.C § 2518(10)(a)(iii). The Government

claims that because § 2518(10)(a) does not also explicitly list “electronic communication,”

suppression is not an available remedy for text messages. The Government argues that the




                                                     6
Defendants’ only remedy to challenge electronic communications under § 2518 is to raise a Fourth

Amendment-based objection.4

        Many courts agree that the exclusionary rule of Title III does not apply to electronic

communications. See United States v. Apodaca, 287 F. Supp. 3d 21, 31 (D.D.C. 2017) (holding

that the exclusion remedy is limited to improper interception of wire and oral communications);

United States v. Steiger, 318 F.3d 1039, 1052 (11th Cir. 2003) (examining the legislative history

of the ECPA to conclude that “a statutory suppression remedy does not exist for unlawful

interceptions of ‘electronic communications’”); United States v. Meriwether, 917 F.2d 955, 960

(6th Cir. 1990) (holding that “[t]he ECPA does not provide an independent statutory remedy of

suppression for interceptions of electronic communications); United States v. Banks, 2014 WL

4261344, at *2 (D. Kan. Aug. 29, 2014) (“the statutory suppression remedy extends to wire and

oral communications only”). Some of these courts relied on the legislative history to show that

Congress agreed not to add electronic communication to the statutory exclusionary rule, but

instead added 18 U.S.C. § 2518(10)(c), which provided for suppression of electronic

communications only under the judicially created exclusionary rule. 5


        4
          The Government also argues that omitting the identity of the authorizing DOJ official from an order as it
applies to the interception of electronic communications cannot lead to suppression under § 2518(10)(a). The
Government cites to § 2516 for support, which provides that:

        Any attorney for the Government (as such term is defined for the purposes of the Federal Rules of
        Criminal Procedure) may authorize an application to a Federal judge of competent jurisdiction for,
        and such judge may grant, in conformity with section 2518 of this title, an order authorizing or
        approving the interception of electronic communications by an investigative or law enforcement
        officer having responsibility for the investigation of the offense as to which the application is made,
        when such interception may provide or has provided evidence of any Federal felony.

18 U.S.C. § 2516(3) (emphasis added). The Government claims that because the Wiretap Orders reference
applications that were made by a Special Assistant U.S. Attorney, who is authorized under § 2516 as “any attorney
for the Government,” the Wiretap Orders are not required to state the name of the DOJ official authorizing the
interception as it pertains to electronic communications.
        5
           See Senate Report No. 99-541, 103 Cong., 2d Sess., 1986 U.S. Code Cong. & Ad. News 3577; see also
Michael S. Leib, E-Mail and the Wiretap Laws: Why Congress Should Add Electronic Communication to Title III's
Statutory Exclusionary Rule and Expressly Reject a “Good Faith” Exception, 34 HARV. J. ON LEGIS. 393 (1997).

                                                               7
         However, the Fifth Circuit briefly addressed this issue in 1992 when it stated, without

explanation, that the Title III exclusionary rule applies to all three types of communication: wire,

oral, and electronic. United States v. Smith, 978 F.2d 171, 175 (5th Cir. 1992) (“this exclusionary

rule only applies to communication that is ‘wire,’ ‘oral,’ or ‘electronic’”) (internal citations

omitted).

         Nevertheless, the undersigned does not need to resolve this issue. The Defendants have

not moved to suppress any electronic communications, nor does the evidence establish that the

Defendants had any electronic communications intercepted by authority of the Wiretap Orders.

                                             IV. Motion to Suppress

         The Defendants move to suppress all fruits of the interception of wire communications on

the grounds enumerated in paragraph (ii)—that the Wiretap Orders are facially insufficient because

they fail to identify the high-level DOJ official who approved the wiretap applications as required

by 18 U.S.C. § 2518(4)(d). (Doc. No. 172, p. 9.)

         The Government does not dispute that the orders are silent as to which duly authorized

DOJ official authorized the application. Instead of explicitly naming the DOJ individual who

authorized the request, the orders state that the applications “were authorized by a duly designated

official of the Criminal Division, United States Department of Justice pursuant to the power

delegated to that official by special designation of the Attorney General of the United States under

the authority vested in him by 18 U.S.C. § 2516 . . .” The Government argues that the Defendants’

motion should be denied on five grounds: (1) Defendants lack standing6, (2) the Title III Orders




          Section 2518(10)(c) reads: “The remedies and sanctions described in this chapter with respect to the
interception of electronic communications are the only judicial remedies and sanctions for nonconstitutional violations
of this chapter involving such communications.” § 2518(10)(c).
         6
             This challenge was addressed in Section III, discussed supra.

                                                                8
are facially sufficient when viewed with the accompanying Applications, (3) any defect is

technical and does not warrant suppression, (4) Title III does not allow statutory suppression of

intercepted electronic communications such as text messages7, and (5) agents relied on the Wiretap

Orders in good faith and therefore Title III’s exclusionary rule does not apply. (Doc. No. 181, p.

1.)

                                                   V. Legal Authority

       Since Title III was adopted in 1968, the Supreme Court has addressed the sufficiency of

wiretap orders in three landmark cases.

       A. United States v. Giordano, 416 U.S. 505 (1974)

       In United States v. Giordano, the Supreme Court considered which DOJ officials could

authorize wiretap applications under Title III, and whether suppression was required when an order

was not properly authorized. At the time, the statute limited authority to “[t]he Attorney General,

or any Assistant Attorney General specially designated by the Attorney General.” Id. at 513. The

order stated that the wiretap application was authorized by a specially designated Assistant

Attorney General, but this was incorrect—the Executive Assistant to the Attorney General

authorized the application. Id. at 509–10. The court found that, despite the confusion, there was

no facial insufficiency, as “the order, on its face, clearly, though erroneously, identified [the

Assistant Attorney General] as the Justice Department officer authorizing the application, pursuant

to special designation by the Attorney General. As it stood, the intercept order was facially

sufficient under § 2516(1).” Id. at 525 n. 14. Accordingly, the wiretap evidence was not

suppressed under § 2518(10)(a)(ii).




       7
           This challenge was also addressed in Section III, discussed supra.

                                                              9
       The Court held that the communications were nevertheless “unlawfully intercepted,” and

thus subject to suppression pursuant to section 2518(10)(a)(i), because the Executive Assistant to

the Attorney General, who had actually approved the application, lacked statutory authority to do

so. In deciding that suppression was appropriate, the Court noted that “Congress intended to

require suppression where there is failure to satisfy any of those statutory requirements that directly

and substantially implement the congressional intention to limit the use of intercept procedures to

those situations clearly calling for the employment of this extraordinary investigative device.” Id.

at 527. Applying this test, the court was “confident that the provision for pre-application approval

was intended to play a central role in the statutory scheme and that suppression must follow when

it is shown that this statutory requirement has been ignored.” Id. at 528.

       In subsequent decisions, courts would interpret Giordano as holding that not every failure

to comply with a provision of the wiretap statute renders the interception unlawful, but that

suppression is required only if the statutory provision is one “that directly and substantially

implement[s] the congressional intention to limit the use of intercept procedures to those situations

clearly calling for the employment of this extraordinary investigative device.” United States v.

Lawson, 545 F.2d 557, 562 (7th Cir. 1975). This became known as the “core concerns” test—

where suppression hinged on whether the alleged violation implicated Congress’ “core concerns”

in implementing the protections enumerated in Title III.

       B. United States v. Chavez, 416 U.S. 562 (1974)

       United States v. Chavez, decided the same day as Giordano, involved a wiretap application

and order that incorrectly identified an Assistant Attorney General as the authorizing official when

the authorization had actually come from the Attorney General himself. Id. at 565 (cf. Giordano

at 509-510, whose authorizing agent lacked statutory power to authorize the wiretap order). The



                                                      10
Supreme Court found that the mistake did not render the wiretap order facially insufficient because

the Attorney General—an official who possessed statutory authority—had in fact authorized the

application. The Court concluded that mere misidentification of the official authorizing the

application did not make the application unlawfully intercepted within the meaning of §

2518(10)(a)(i) because that identification requirement did not play a “substantive role” in the

regulatory system. Chavez, 416 U.S. at 578. Chavez differed from Giordano because in Giordano,

the alleged insufficiency was that the authorizing DOJ official lacked statutory authority, and in

Chavez, the insufficiency was based on a mistake. Ultimately, the court in Chavez found that the

evidence was not subject to suppression for being “unlawfully intercepted” under section

2518(10)(a)(i):

       Failure to correctly report the identity of the person authorizing the application . . .
       when in fact the Attorney General has given the required preliminary approval to
       submit the application, does not represent a similar failure to follow Title III’s
       precautions against the unwarranted use of wiretapping or electronic surveillance
       and does not warrant the suppression of evidence gathered pursuant to a court order
       resting upon the application.

Id. at 571. Both Giordano and Chavez focus on paragraph (i), which pertains to allegations that

the electronic communication was unlawfully intercepted. Under Giordano and Chavez, a wiretap

order can list an incorrect source of DOJ authority without creating a facial insufficiency, provided

that the source listed is statutorily empowered to exercise authority. United States v. Callum, 410

F.3d 571, 576 (9th Cir. 2005).




                                                     11
         C. Dahda v. United States, 138 S. Ct. 1491 (2018)8

         In Dahda, the Supreme Court considered wiretap orders that impermissibly authorized

wiretaps outside the District of Kansas, where the orders had been issued. The defendants claimed

that the evidence obtained should be suppressed because the language in the order that purported

to authorize wiretaps outside the District of Kansas made the order “insufficient on its face” within

the meaning of § 2518(10)(a)(ii). Id at 1493.

         The Tenth Circuit applied the Giordano “core concerns” test to hold that paragraph (ii)

applies only where the insufficiency reflects an order’s failure to satisfy the “statutory

requirements that directly and substantially implement the congressional intention to limit the use

of” wiretapping. Dahda, 138 S. Ct. at 1493. The court identified two core concerns, concluded

that neither applies to the surplusage included on the order that extended the territorial limitation,

and denied the defendant’s motion to suppress. Id.

         The Supreme Court rejected the Tenth Circuit’s reasoning, and held that the Giordano

“core concerns” test does not apply to paragraph (ii) challenges:

         The underlying point of Giordano’s limitation was to help give independent
         meaning to each of § 2518(10)(a)’s paragraphs. It thus makes little sense to extend
         the core concerns test to paragraph (ii) as well. Doing so would “actually treat that
         paragraph as ‘surplusage’—precisely what [this] Court tried to avoid in Giordano.”
         We consequently conclude that paragraph (ii) does not contain a Giordano-like
         “core concerns” requirement. The statute means what it says. That is to say,
         paragraph (ii) applies where an order is “insufficient on its face.”


         8
           It is important to note that from the Giordano and Chavez decisions in 1974 until Dahda was decided in
2018, multiple Circuit and District Courts examined these issues with varying results. See, e.g., United States v. Small,
423 F.3d 1164, 1178 (10th Cir. 2005) (holding that a wiretap order’s failure to identify the person authorizing the
application does not require suppression of the wiretap evidence, where the wiretap application was authorized by an
appropriate individual within the Department of Justice and that authorizing individual was identified by name in the
wiretap application); United States v. Radcliff, 331 F.3d 1153, 1160 (10th Cir. 2003) (same); United States v. Guzman-
Torres, No. CR-11-0234-HE, 2011 WL 4639922, at *2 (W.D. Okla. Oct. 4, 2011) (same); United States v. Fudge, No.
01-CR-09-C-5, 2001 WL 34377928, at *6–7 (W.D. Wis. Jun. 21, 2001) (same); but see United States v. Scurry, 821
F.3d 1 (D.C. Cir. 2016) (holding that Title III mandates suppression where wiretap authorization orders were facially
insufficient for failure to specify the identities of the individual high-level Justice Department officials who authorized
the wiretap applications).

                                                                12
Dahda, 138 S. Ct. at 1498 (internal citations omitted). The Court also referenced the Oxford

English Dictionary for guidance in determining insufficiency: insufficient means “deficient” or

“lacking in what is necessary or requisite.” Id. (citing Oxford English Dictionary 359 (1933)).

However, the Court was careful to restrict the veil of protection offered by paragraph (ii) in

clarifying that not any legal defect that appears within the four corners of an order compels a

finding of insufficiency and compels suppression.             Instead, the Court reasoned that—at a

minimum—the information required by § 2518(4) is required, and if lacking, would render an order

“insufficient on its face.” Id. at 1498; (referring to §§ 2518(4)(a)–(e) (requiring an order to

specify, inter alia, the identity of the person authorizing the application)).

                                             VI. Discussion

        The issue before the court is whether the Wiretap Orders are facially insufficient for failing

to identify the authorizing DOJ official, and if so, whether this insufficiency warrants suppression.

This issue has been a matter of dispute in various courts for decades and has resulted in different

rulings. However, now that the Supreme Court has made clear that the “core concerns” test does

not apply to facial insufficiency challenges under § 2518(10)(a)(ii), the undersigned finds that

suppression should be granted.

        The Defendants rely on Giordano and Chavez to support their argument that the court must

examine the four corners of the order and establish whether, on its face, the § 2518(4) requirements

are satisfied. (Doc 172., p. 3.) The Defendants also rely on a case from the Court of Appeals for

the D.C. Circuit, United States v. Scurry, 821 F.3d 1 (D.C. Cir. 2016). In Scurry, like here, the

wiretap order did not include the identity of the high-level DOJ official who authorized the wiretap

application.9 Id. at 367. The D.C. Circuit Court examined the four corners of the order as required


        9
         Instead of listing an actual name of a person with authority, the Scurry orders had asterisks where
presumably the name should have been noted.

                                                        13
by Chavez and Giordano to find the order to be insufficient on its face: “There can be little question

that each of the [Defendants’] orders is ‘insufficient on its face’ . . . because each fails to include

information expressly required by Title III.” Id. at 8 (internal citations omitted). Given that the

orders authorizing the wiretaps in Scurry did not specify the statutorily required high-ranking DOJ

official who had signed off on the underlying application, the D.C. Circuit mandated that the

information collected pursuant to the wiretaps be suppressed. Id. (“To determine whether a

wiretap order is facially insufficient, a reviewing court must examine the four corners of the order

and establish whether, on its face, it contains all that Title III requires it to contain.”) (noting that

the D.C. Circuit’s previous opinion in United States v. Glover, 736 F.3d 509, 515 (D.C. Cir. 2013),

“left open the possibility that a ‘technical defect’ in a wiretap order might not rise to the level of

facial insufficiency, but rather would render the order ‘imperfect’”).

         In response, the Government relies on Chavez to argue that “not every failure to comply

fully with any requirement provided in Title III” warrants suppression. The Government claims

that the application identifies the authorizing individual, and that the order references the

application—so by extension—the § 2518(4) requirements are satisfied.10 The Government

recognizes the recent ruling in Dahda—that the Supreme Court has rejected the “core concerns”


         10
             The first sentence of the Wiretap Orders includes the phrase: “Application under oath having been made
to me . . . and full consideration having been given to the matter set forth therein.” The Government argues that this
statement establishes that the Wiretap Orders “incorporated the Applications and expressly referred the reviewing
judge to those Applications. By signing the [Wiretap] Orders, as every reviewing judge did in this case, the judges
committed to having given full consideration [to] the matter set forth ‘therein,’ referring to the Application and its
attachments.” (Doc. 181, p. 9-10.)
          However, each identification requirement has a distinct audience in the Title III process. Scurry, 821 F.3d
at 11. “Requiring identification of the authorizing official in the application facilitates the court’s ability to conclude
that the application has been properly approved under § 2516. . . .” Chavez, 416 U.S. at 575 (emphasis added).
“Including that identification in the wiretap order facilitates additional oversight, this time by the parties executing
the order.” Scurry, 821 F.3d at 11 (emphasis added).
          In any event, despite the Government’s argument to the contrary, there is no language in the Wiretap Order
that explicitly incorporates by reference the applications and exhibits. The introductory phrase relied on by the
Government is nothing more than a simple acknowledgement that the issuing judge considered the application, as
required by law.


                                                                14
approach for paragraph (ii) insufficiencies—but argues that because the applications contain the

required name of the authorizing person, the insufficiency on the order itself constitutes a technical

defect, which under Dahda does not require suppression. The Government also relies on a series

of pre-Dahda circuit cases that have denied suppression under similar facts. See United States v.

Radcliff, 331 F.3d 1153, 1163 (10th Cir. 2003) (holding that failure to identify authorizing person

in order constitutes technical defect); and United States v. Traitz, 871 F.2d 368, 379 (3d Cir. 1989)

(holding that the purpose of § 2518(4)(d) was not undermined where the authorizing official was

named in the wiretap application but not in the wiretap order).

       However, the Government’s reliance on any pre-Dahda case is outdated. Prior to Dahda,

many courts applied the “core concerns” test when analyzing whether a wiretap order was

sufficient on its face. See Traitz, 871 F.2d at 379; United States v. Vigi, 515 F.2d 290, 293 (6th

Cir. 1975). Again, the Supreme Court in Dahda made clear that the core concerns test does not

apply to paragraph (ii) challenges, and narrowly defined what constitutes “facial insufficiency”:

       It is clear that paragraph (ii) covers at least an order’s failure to include information
       that § 2518(4) specifically requires the order to contain. See §§ 2518(4)(a)–(e)
       (requiring an order to specify, e.g., the “identity of the person, if known, whose
       communications are to be intercepted,” “a particular description of the type of
       communication sought to be intercepted, and a statement of the particular offense
       to which it relates”). An order lacking that information would deviate from the
       uniform authorizing requirements that Congress explicitly set forth, while also
       falling literally within the phrase “insufficient on its face.”

Dahda, 138 S. Ct. at 1498 (internal citations omitted) (emphasis added).

       Section 2815(4) requires that the order—not the application—contain the “identity . . . of

the person authorizing the application.” 18 U.S.C. § 2815(4)(d). The Wiretap Orders at issue do

not contain this information. Instead, the Wiretap Orders provide a troublingly vague reference to

a “duly designated official of the Criminal Division, United States Department of Justice pursuant

to the power delegated to that official by special designation of the Attorney General of the United


                                                      15
States under the authority vest in him by Section 2516 . . .” This description casts a wide net and

does not narrowly identify the person authorizing the application.

          Although Congress has amended Title III since its enactment in 1968, Congress has not

changed the information required in a wiretap court order. Compare 18 U.S.C. § 2518(4)(a)–(e),

with Title III, § 802, 82 Stat. at 219 (adding section 2518(4)(a)–(e) to Title 18). As the Supreme

Court observed in Chavez, “[t]here is little question that [the identification requirements] were

intended to make clear who bore the responsibility for approval of the submission of a particular

wiretap application.” Chavez, 416 U.S. at 571-72. “To specify a category of official or a job title

is usually not the same thing as specifying the ‘identity’ of a ‘person.’” Scurry, 821 F.3d at 11.

The § 2518(4)(d) requirement that a wiretap order identify the person who authorized the wiretap

application exists so that “[s]hould abuses occur, the lines of responsibility [would] lead to an

identifiable person.” Scurry, 821 F.3d at 11 (citing S. REP. NO. 90–1097, at 197) (emphasis

added).

          The undersigned cannot reconcile how the Wiretap Orders—and their blatant failure to

comply with the § 2815(4)(d) requirement to identify the person authorizing the application—can

satisfy scrutiny for facial insufficiency in a post-Dahda regime. Although the Government urges

the court to see this glaring deficiency as a mere “technical defect,” the Supreme Court is clear

that any failure to include information required by the § 2518(4) requirements renders the order

facially insufficient under paragraph (ii). Dahda, 138 S. Ct. at 1498. As the Supreme Court also

recognized, “[t]he statute means what it says.” Id.; see also New Orleans Depot Servs., Inc. v.

Dir., Office of Worker’s Comp. Programs, 718 F.3d 384, 393 (5th Cir. 2013) (en banc) (“[T]he

first rule of statutory construction is that we may not ignore the plain language of a statute.”). The

statute very clearly states that the order must contain the identity of the person authorizing the



                                                     16
application. A reference to a “duly appointed” DOJ official—with no other identifying title or

name—falls woefully short of creating a trail of responsibility to an identifiable person.

Accordingly, the Wiretap Orders are insufficient on their face, and the evidence derived therefrom

should be suppressed.

                                  VII. The Government’s Good Faith Defense

        The Government claims that the Wiretap Orders were obtained well before Scurry and

Dahda were decided, and that the court should be bound by the legal authority as it existed at the

time the orders were signed. The Government cites to the Supreme Court’s holding in Davis v.

United States, 564 U.S. 229, 241 (2011), which held that evidence obtained during a vehicle search

conducted in reasonable reliance on binding precedent is not subject to the exclusionary rule.

While neither the Supreme Court nor the Fifth Circuit has addressed whether the good faith

exception applies to suppression claims brought under § 2518, this issue has been litigated at the

circuit level with varying results.11 The Sixth Circuit and the D.C. Circuit have concluded that the

good faith exception is inapplicable to Title III wiretap cases. See United States v. Rice, 478 F.3d

704, 711-14 (6th Cir. 2007) and United States v. Glover, 736 F.3d 509, 513 (D.C. Cir. 2013),

abrogated by Dahda. Whereas the Fourth, Eighth, and Eleventh Circuits have held that it does

apply. See United States v. Moore, 41 F.3d 370, 376 (8th Cir. 1994); United States v. Malekzadeh,

855 F.2d 1492, 1497 (11th Cir. 1988); see also United States v. Brewer, 204 F. App’x 205, 208

(4th Cir. 2006) (unpublished).

        The undersigned finds no need to analyze whether the good faith exception applies to Title

III cases. Because even if it does, the Government does not prove, nor does the evidence establish,



        11
            The issue was also addressed in the Eastern District of Louisiana, which held that the “good faith”
exception to the exclusionary rule does apply in Title III cases. United States v. Davis, No. CR.A. 01-282, 2003 WL
548910, at *10 (E.D. La. Feb. 25, 2003).

                                                            17
that the Government’s error was the result of “reasonable reliance” on binding precedent. At the

time the Wiretap Orders were executed in 2014, there was no binding Fifth Circuit or Supreme

Court case holding that evidence obtained from a facially insufficient wiretap order should not be

suppressed as long as the “core concerns” test is satisfied. In fact, the Supreme Court in Dahda

recognized that Giordano was trying to avoid having “core concerns” test apply in facial

sufficiency challenges. Dahda, 138 S. Ct. at 1498 (holding that the underlying point of Giordano’s

limitation was to help give independent meaning to each of § 2518(10)(a)’s paragraphs, and that

it makes little sense to extend the core concerns test to paragraph (ii) as well).

       The § 2815(4) requirements are remarkably clear—wiretap orders must contain the identity

of the person authorizing the application. The statute means what it says, and any assumption

otherwise is simply not reasonable nor deserving of the good faith exception. Moreover, it is worth

noting that the issue of facial sufficiency of wiretap orders is not a novel concept—this issue has

been litigated since the 1970's. Nearly every circuit and many district courts have addressed the

sufficiency of wiretap orders, with some involving analogous facts to this case. And yet, many

of the same deficiencies or issues keep occurring, requiring court intervention, and in some

instances, suppression is the result. In an effort to avoid matters of contention and possible

suppression, the Department of Justice and its officers should be reminded that “Title III is an

exacting statute obviously meant to be followed punctiliously.” Callum, 410 F.3d at 579. The

orders—not just the applications—require the five elements listed in § 2518(4), including the

identity of the person authorizing the application. One would plausibly think this requirement

could very easily be satisfied by listing the actual name of the authorizing official in the order

itself. This is a very simple step in the complicated process of preparing the application and order,

and yet it seems to oftentimes be overlooked or forgotten.



                                                      18
                                     VIII. Recommendation

       Title III requires that wiretap orders specify the identity of any person authorized to make

the wiretap application. 18 U.S.C. § 2518(4)(d). The Government concedes that the Wiretap

Orders in this case do not provide this necessary element. The undersigned finds that this

deficiency renders the Wiretap Orders facially insufficient. Because an aggrieved person may

move to suppress the contents of wire communications intercepted or the evidence derived

therefrom on the grounds that the wiretap order is insufficient on its face, the undersigned

recommends granting the Defendants’ Motion to Suppress.

                                          IX. Objections

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2)

specifically identify those findings or recommendations to which the party objects, and (3) be

served and filed within fourteen (14) days after being served with a copy of this report, and (4) no

more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2);

Local Rule CV-72(c). A party who objects to this report is entitled to a de novo determination by

the United States District Judge of those proposed findings and recommendations to which a

specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–

77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings




                                                     19
of fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


      SIGNED this 2nd day of November, 2018.




                                                  _________________________
                                                  Zack Hawthorn
                                                  United States Magistrate Judge




                                                    20
